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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BADER FAMILY FOUNDATION,                     )
1236 N. Stafford St., Arlington, VA 22201    )
                                             )
                                Plaintiff,   )
                                             )                Civil Action No. 21-1741
      v.                                     )
                                             )
UNITED STATES DEPARTMENT OF                  )
EDUCATION,                                   )
400 Maryland Avenue, SW Washington, DC 20202 )
                                             )
                                Defendant    )


           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

Plaintiff alleges as follows, against Defendant U.S. Department of Education:

1) This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, for

   improper withholding of agency records.

2) Plaintiff seeks to compel production under two FOIA requests.

3) The first is its May 20, 2021 FOIA request seeking emails that mention the 1619 Project,

   certain historians or biographers who have criticized it, and certain words potentially

   related to a history and civics grant program.

4) The second is its May 21, 2021 FOIA request seeking certain emails between

   policymaking officials in the Education Department’s Office for Civil Rights and people

   outside the government who apparently have spoken or written to such officials about

   school discipline policy and its racial or civil-rights implications.




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5) These records are central to matters of timely, current political and legal deliberation, of

    great public interest and policy and legal significance, as is shown by recent press

    coverage of federal policy about school discipline, 1 and history and civics instruction.2

6) In response to plaintiff’s second FOIA request, Defendant has failed to provide plaintiff

    with either the records requested, or the determination mandated by 5 U.S.C. §

    552(a)(6)(A)(i). FOIA requires an agency to provide a determination of the number of

    responsive records it intends to release or withhold within 20 working days after

    receiving the request. As the D.C. Circuit explained, agencies must “inform the requester

    of the scope of the documents that the agency will produce, as well as the scope of the

    documents that the agency plans to withhold under any FOIA exemptions” within the

    statutory deadline of 20 working days. (CREW v. FEC, 711 F.3d 180 (D.C. Cir. 2013)).

7) That deadline passed no later than June 22, yet defendant still has provided no

    determination about what records will be produced, nor has it produced any records in

    response to plaintiff’s request. Thus, defendant has not complied with FOIA.




1
  See, e.g., Jason Riley, Classroom Chaos in the Name of Racial Equity is a Bad Lesson Plan,
Wall Street Journal, May 12, 2021, available at https://www.wsj.com/articles/classroom-chaos-
in-the-name-of-racial-equity-is-a-bad-lesson-plan-11620771445; Ashe Schow, Biden
Administration Expected To Bring Back Obama-Era School Discipline Rules, Which Led To
Racial Quotas, Daily Wire, May 12, 2021, available at https://www.dailywire.com/news/biden-
administration-expected-to-bring-back-obama-era-school-discipline-rules-which-led-to-racial-
quotas; Will Flanders, Joe Biden Plans to Revive School Rules Punishing Kids According to Skin
Color, The Federalist, May 21, 2021, available at https://thefederalist.com/2021/05/21/joe-biden-
plans-to-revive-school-rules-punishing-kids-according-to-skin-color/.
2
 See, e.g., Stanley Kurtz, Biden Set to Push Critical Race Theory on U.S. Schools, National
Review, April 19, 2021 (available at www.nationalreview.com/corner/biden-set-to-push-critical-
race-theory-on-u-s-schools); Thomas Barrabi, State AGs ask Biden to withdraw education
proposals supporting 1619 Project, critical race theory, Fox News, May 19, 2021 (available at
www.foxnews.com/politics/state-ags-biden-education-proposals-1619-project-critical-race-
theory).


                                                 2
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8) In response to plaintiff’s first FOIA request, defendant responded on May 28 by stating

    that no responsive records existed.

9) Plaintiff challenged that determination on May 28, by filing an administrative appeal.

10) Defendant’s response to that appeal was due within 20 working days, that is, by no later

    than June 29, 2021. See 5 U.S.C. § 552(a)(6)(A)(ii).

11) Yet defendant has provided no determination with respect to plaintiff’s appeal. Nor has

    it provided any responsive records.

12) Due to defendant’s failure to comply with FOIA’s deadlines, plaintiff has filed this

    lawsuit to compel it to comply with the law.

                                            PARTIES
13) The Bader Family Foundation (BFF) is a non-profit, 501(c)(3) tax-exempt foundation

    that focuses heavily on educational issues. It supports non-profits that use freedom of

    information laws to shed light on the operations of government; supports non-profits that

    study and publish reports about government policies related to school discipline, history

    and civics instruction, and civil-rights policy; and supports non-profit media that publish

    stories about such policies. BFF also has participated as amicus curiae in litigation

    involving civil-rights and constitutional issues in the educational context. A BFF trustee,

    Hans Bader, has published about subjects related to the requested records in the media,3




3
  See, e.g, Hans Bader, Education Department may investigate schools even if they have
colorblind discipline rules and practices, Liberty Unyielding, June 6, 2021, available at
https://libertyunyielding.com/2021/06/06/education-department; Bader, Dem AGs Urge Biden to
Implement Race and Gender Quotas for School Discipline, CNS News, June 8, 2021,
https://cnsnews.com/commentary/hans-bader/dem-ags-urge-biden-implement-race-and-gender-
quotas-school-discipline; Bader, History and civics grant program may subsidize discriminatory
ideology, Liberty Unyielding, Apr. 24, 2021 (https://libertyunyielding.com/2021/04/24/program).



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    and been quoted in the media about them,4 or linked to by articles in the media.5 Bader is

    a former employee of the Education Department’s Office for Civil Rights.6

14) United States Department of Education is a federal agency within the meaning of FOIA,

    5 U.S.C. § 552(f)(1), and is headquartered at 400 Maryland Avenue, SW, Washington,

    D.C. 20202. Defendant has possession, custody, and control of the records to which

    Plaintiff seeks access.

                                 JURISDICTION AND VENUE

15) This Court has jurisdiction pursuant to 5 U.S.C. § 552(a)(4)(B), because this action is

    brought in the District of Columbia, and 28 U.S.C. § 1331, because the resolution of

    disputes under FOIA presents a federal question.

16) Venue is proper under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391(e) because the

    records are located in Washington, D.C., and because defendant is a federal agency.

                              FACTUAL AND STATUTORY BACKGROUND

17) Plaintiff submitted two FOIA requests, and defendant complied with neither of them.

                                  FOIA Request #21-01704-F

18) On May 21, 2021, Plaintiff submitted a FOIA request for the following records:


4
  See, e.g., Mark Keierleber, Biden Administration to Renew Focus on Racial Disparities in
School Discipline, Yahoo News, June 15, 2021, www.yahoo.com/now/biden-administration-
renew-focus-racial-111500565.html; Jackson Walker, Education Department eyes racial quotas
in school discipline, expert warns, College Fix, June 2, 2021 (www.thecollegefix.com/education-
department-eyes-racial-quotas-in-school-discipline-expert-warns).
5
 See, e.g., Stanley Kurtz, Biden Set to Push Critical Race Theory on U.S. Schools, National
Review, April 19, 2021 (discussing the federal history and civics grant program, and linking to
Hans Bader article in hyperlink on the words “hostile educational environment”) (available at
www.nationalreview.com/corner/biden-set-to-push-critical-race-theory-on-u-s-schools).
6
 See George Will, ‘Alice in Wonderland’ coercion, Oklahoman, May 26, 2013, available at
https://www.oklahoman.com/article/3833883/george-f-will-alice-in-wonderland-coercion (“Hans
Bader” is a “former OCR lawyer”).


                                                 4
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       Emails about school discipline or school disciplinary policies sent or received by Carolyn

       Seugling or any presidential appointee or political appointee or Schedule C employee in

       the Office for Civil Rights during the covered date range, that were also sent or received

       by any of the following people or email accounts: Michaele Turnage Young, Diane

       Smith Howard, Ames Simmons, Katherine Dunn, Russell Skiba, Olatunde Johnson,

       Cierra Kaler-Jones, James Scanlan, Fred Woehrle, jps@jpscanlan.com,

       fredwoerhle@gmail.com or skiba@indiana.edu. The covered date range is from January

       20, 2021 to the earlier of the following dates: the date you process this request, or June

       18, 2021. Emails are covered regardless of whether they are in an official Education

       Department email account, or an Education Department employee’s non-official or

       private email account.

19) In response, defendant sent plaintiff an email on May 21 acknowledging receipt of

   plaintiff’s FOIA request, and stating that it would be treated as Request #21-01704-F.

   The email from the Department of Education’s Office of the Executive Secretariat stated

   that “Request #21-01704-F has been assigned to the request you submitted. In all future

   correspondence regarding this request, please reference FOIA tracking number 21-

   01704-F. Please refer to the FOIA tracking number to check the status of your FOIA

   request at the link provided below: https://foiaxpress.pal.ed.gov/app/CheckStatus.aspx.”

20) This email demonstrated that defendant received plaintiff’s FOIA request on May 21.

21) But defendant did not provide a determination in response to the FOIA request.




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22) The deadline for defendant to issue a determination in response to plaintiff’s FOIA

    request was 20 working days after defendant received plaintiff’s request – that is, by no

    later than June 22, 2021.7 (See 5 U.S.C. § 552(a)(6)(A)(i)).

23) That deadline came and went without any determination by it about whether to comply

    with plaintiff’s FOIA request.

24) Instead, on June 21, 2021, defendant sent an email attaching a “20 Day Status

    Notification.” In that attached letter, it stated that “At this time, we are unable to provide

    an estimated completion date, but intend to provide records on a rolling basis as they

    become available.”

25) Under FOIA, an agency’s determination must “inform the requester of the scope of the

    documents that the agency will produce, as well as the scope of the documents that the

    agency plans to withhold under any FOIA exemptions” within the statutory deadline of

    20 working days. (CREW v. FEC, 711 F.3d 180 (D.C. Cir. 2013)).

26) Defendant provided no such information to plaintiff in its June 21 letter, which thus did

    not provide the determination required by FOIA. As of today, June 30, 2021, defendant

    still has not provided this information, nor has it provided any responsive records.

27) Accordingly, defendant has improperly withheld agency records.

28) Due to defendant’s failure to comply with the statutory deadline, plaintiff has exhausted

    administrative remedies, and can now sue.8



7
  As reflected in the “20 Day Status Notification” plaintiff received, 20 working days had
apparently passed by June 21, notwithstanding the Juneteenth holiday, which was observed by
some, but not all, federal employees. If Juneteenth is treated as a non-working day, then the
deadline was June 22.
8
  See CREW v. FEC, 711 F.3d 180, 189 (D.C. Cir. 2016) (holding that "if an agency does not
adhere to certain statutory timelines in responding to a FOIA request, the requester is deemed by
statute to have fulfilled the exhaustion requirement").


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29) FOIA provides that a requester is "deemed to have exhausted his administrative

    remedies with respect to such request if the agency fails to comply with the applicable

    time limit provisions." 5 U.S.C. § 552(a)(6)(C)(i).

                                 FOIA Request No. 21-01695-F

30) On May 20, 2021, plaintiff submitted a FOIA request to defendant that requested the

    following records:

       Any email sent or received between February 1, 2021 and the date you process this

       request, by any covered Education Department employee that contains the following

       words: (1) "1619 Project," and (2) "history and civics"; and (3) "grant" and (4) "program"

       or "programs" and (4) "Gordon Wood" or "James McPherson" or "Sean Wilentz" or

       "Timothy Sandefur" or "Victoria Bynum."

       The term "covered Education Department employee" means any employee of the U.S.

       Department of Education who oversees, manages, administers, or designs federal grant

       programs, or helps shape criteria for federal grants; and who works for, or with, the

       Office of Elementary and Secondary Education in Washington, DC. It includes the

       Deputy Assistant Secretary for Policy and Programs in the OESE. It does not include any

       employee below the GS-12 pay level.

31) On May 21, 2021, plaintiff submitted a request for the exact same records electronically

    by uploading it online using defendant’s FOIA portal, at https://foiaxpress.pal.ed.gov.

32) In response, defendant acknowledged receipt of plaintiff’s FOIA request, and assigned it

    tracking numbers 21-01695-F and 21-01698-F.9



9
 Tracking number 21-01695-F was assigned to the FOIA request that plaintiff uploaded. Mary
Macrae, defendant’s “FOIA Manager,” acknowledged the receipt of the emailed FOIA request as



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33) On May 28, 2021, defendant issued a determination that no responsive records existed.

   In a letter, it stated that “Staff from OESE informed this office (FSC) that after a search

   of their files, they were unable to locate any documents that were responsive to your

   request.”

34) On May 28, 2021, plaintiff emailed an administrative appeal of this determination to

   defendant, which defendant received on May 28, 2021.

35) Defendant assigned the appeal tracking number 21-00034-A.

36) In its administrative appeal, plaintiff explained that it was implausible to assert that there

   were no responsive records, and it questioned the adequacy of defendant’s search for

   responsive records.

37) For example, plaintiff stated that “it is wholly implausible that such a widely-discussed

   subject would not be discussed in a single email, given how often people have discussed

   it with the Department of Education,” given that the “FOIA request, which relates to

   historical criticism of the 1619 Project by leading academics and authors, has been

   discussed by many people in communications with the Department of Education. For

   example, look at some of the more than 30,000 comments submitted in April and May in

   response to” the Education Department’s “Proposed Priorities: American History and

   Civics Education (proposed rule, April 19, 2021).”

38) As plaintiff noted, "Many of the comments in that rulemaking record contain the words

   in quotes in my FOIA request, including ‘1619 Project,’ ‘history and civics,’ ‘program,’




FOIA Request No. 21-01698-F in emails sent on the morning of May 21, 2021, and
characterized it as a “duplicate request to your previous request you provided.”



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   and the name of one or more of the five historians and authors I listed, ‘Gordon Wood’

   or ‘James McPherson’ or ‘Sean Wilentz’ or ‘Timothy Sandefur’ or ‘Victoria Bynum.’"

39) As plaintiff further observed, “To address these comments in their final rule, Education

   Department officials necessarily have had to review and begin discussing them, which

   necessarily results in emails between Education Department employees containing these

   search terms…. So emails among DOE employees responsive to our request necessarily

   have come into being as a result.”

40) Moreover, plaintiff noted, commenters also “sent courtesy copies of their comments, or

   communications similar to their comments, by email to Department employees,” such as

   “Mia Howerton.”

41) For example, plaintiff cited a “mass email announcing [a] group’s comments addressed to [a

   specific] Education Department official, and filed at Regulations.Gov as Comment ID ED-

   2021-OESE-0033-29868).”

42) Plaintiff noted that “It is wholly implausible that such commenters, who sought a maximum

   audience for their concerns, did not also share their comments by email with policymaking

   officials in the Department of Education and the Office of Elementary and Secondary

   Education. And that is putting aside the likelihood that other members of the public likely

   emailed Department employees about this subject (even without submitting any comments at

   Regulations.Gov), given that the Education Department’s rulemaking became the subject of

   great public controversy and news coverage. See, e.g., Thomas Barrabi, State AGs ask Biden

   to withdraw education proposals supporting 1619 Project, critical race theory, Fox News,

   May 19, 2021, available at www.foxnews.com/politics/state-ags-biden-education-proposals-

   1619-project-critical-race-theory.”




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43) Plaintiff stated that “It is utterly implausible that such a widely-discussed subject would not

   be discussed in a single email. Cf. ACLU v. CIA, 710 F.3d 422, 430 (D.C. Cir. 2013) (it is

   simply “implausible” for an agency to claim it “does not possess a single document” in

   response to a FOIA request about a subject it publicly discussed).”

44) Plaintiff further noted that “people send emails to Education Department employees all the

   time about controversial subjects.” Plaintiff cited the experience of undersigned counsel,

   who, when he “worked in the Education Department,” “received emails from academics,

   lawyers, journalists, and members of the general public about controversies related to

   Education Department policy, even though [he] was just a lowly attorney-advisor, not a high-

   ranking policymaker.”

45) Plaintiff questioned whether defendant had failed to search for emails exchanged with

   employees who worked “with” but not “for” the Office of Elementary and Secondary

   Education.

46) Defendant’s response to that appeal was due within 20 working days, that is, by no later

   than June 29, 2021. See 5 U.S.C. § 552(a)(6)(A)(ii).

47) But defendant did not comply with that deadline. Nor did it provide any responsive

   records. As of today, June 30, 2021, defendant has neither sent plaintiff a determination

   in response to plaintiff’s appeal, nor produced any responsive records.

48) Moreover, responsive records in fact existed.

49) A responsive record is shown in Exhibit 1.

50) It contains a May 20, 2021 email to Deputy Assistant Secretary Ian Rosenblum.

51) That May 20, 2021 email in Rosenblum’s email account was a record requested by

   plaintiff’s FOIA request.




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52) That May 20, 2021 email was a responsive record.

53) Defendant did not produce this record or even disclose its existence.

54) Accordingly, defendant improperly withheld agency records.

55) Defendant never sent plaintiff a ruling on plaintiff’s administrative appeal.

56) Due to defendant’s failure to comply with the statutory deadline for ruling on plaintiff’s

     administrative appeal, plaintiff has exhausted administrative remedies, and can now

     sue.10

57) FOIA provides that a requester is "deemed to have exhausted his administrative

     remedies with respect to such request if the agency fails to comply with the applicable

     time limit provisions." 5 U.S.C. § 552(a)(6)(C)(i).

58) Defendant’s web site now lists plaintiff’s appeal as “closed.” In a June 4, 2021 email,

     defendant stated, “the status of your Appeal request #'21-00034-A' has been updated to

     the following status 'In Process'.” But when plaintiff visited defendant’s FOIA portal on

     June 29, 2021,11 defendant’s web site said that plaintiff’s appeal’s “Status” was “closed.”

59) Closure of the administrative appeal brings the administrative process to an end,

     meaning that plaintiff has exhausted all administrative remedies, for that additional

     reason.12



10
  See CREW v. FEC, 711 F.3d 180, 189 (D.C. Cir. 2016) (holding that "if an agency does not
adhere to certain statutory timelines in responding to a FOIA request, the requester is deemed by
statute to have fulfilled the exhaustion requirement")
11
   Plaintiff visited https://foiaxpress.pal.ed.gov/app/CreateAppeal.aspx?edit=11134 and
https://foiaxpress.pal.ed.gov/app/RequestStatus.aspx
12
   If an agency closes an appeal without ruling on it, or without notifying the FOIA requester,
that does not trigger any duty by plaintiff to administratively appeal that action to try to reinstate
its appeal. To “trigger the administrative exhaustion requirement, the agency must at



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60) Thus, plaintiff can now sue over this FOIA request as well.

                         Defendant Has Waived the Right to Charge Fees

61) Since defendant did not comply with FOIA’s deadlines, it has waived the right to collect

   any fees for processing plaintiff’s FOIA requests.

62) In Bensman v. National Park Service, 806 F. Supp. 2d 31 (D.D.C. 2011) this Court

   noted: “[The effect of] the 2007 Amendments was to impose consequences on agencies

   that do not act in good faith or otherwise fail to comport with FOIA’s requirements. See

   S. Rep. No. 110-59. To underscore Congress's belief in the importance of the statutory

   time limit, the 2007 Amendments declare that ‘[a]n agency shall not assess search fees…

   if the agency fails to comply with any time limit’ of FOIA” (emphasis added).

63) Moreover, it would be inappropriate to charge any fees for an additional reason: the

   records sought in plaintiff’s FOIA requests are of great public interest, and producing

   them would be of public benefit. Plaintiff thus requested fee waivers in its FOIA

   requests.

64) Production of the requested records will make them available to the public, providing a

   public benefit. When agencies produce records to undersigned counsel, he posts them on

   the internet, and includes a hyperlink to them in his blog posts at the Liberty Unyielding



least…inform the requester that it can appeal whatever portion of the 'determination' is adverse.”
CREW v. FEC, 711 F.3d 180, 188 (D.C. Cir. 2016); see Ruotolo v. DOJ, 53 F.3d 4, 9 (2d Cir.
1995) (exhaustion requirement not triggered when agency response contained no notification of
right to administratively appeal).

Defendant did not inform plaintiff of the right to make any such appeal. It has not sent any email
or letter informing plaintiff that it closed plaintiff’s appeal, much less included any right-to-
appeal language in it, so any “closure” cannot trigger the administrative exhaustion requirement,
even putting aside the fact that plaintiff has also exhausted administrative remedies due to
defendant’s failure to rule on plaintiff’s appeal within the 20-day deadline mandated by FOIA.
Thus, there is no bar to plaintiff suing now.


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     blog and other blogs that reproduce his blog posts.13 Thousands of people read such blog

     posts, making the records widely available.14

                                  FIRST CLAIM FOR RELIEF
                       Duty to Produce Records – Declaratory Judgment

65) Plaintiff re-alleges paragraphs 1-64 as if fully set out herein.

66) Defendant is improperly withholding agency records.

67) The records are urgently needed by an individual engaged in disseminating information

     in order to inform the public concerning actual or alleged Federal Government activity.

68) Plaintiff asks this Court to enter a judgment declaring that:

            a.   Plaintiff is entitled to the records described in its FOIA requests, and any

                   attachments thereto;

            b.   Defendant’s processing of plaintiff’s FOIA requests is not in accordance with

                   the law, and does not satisfy Defendant’s obligations under FOIA;

            c.   Defendant has a duty to produce the records responsive to plaintiff’s FOIA

                   requests;

            d.   Defendant has a duty to produce them without charging any fees.

                               SECOND CLAIM FOR RELIEF
                          Duty to Produce Records – Injunctive Relief

69) Plaintiff re-alleges paragraphs 1-68 as if fully set out herein.



13
  See, e.g., Hans Bader, Court orders release of records related to claim global warming causes
severe winter cold, Liberty Unyielding, March 18, 2016
(https://libertyunyielding.com/2016/03/18/court-orders-release-of-records-related-to-claim-
global-warming-causes-severe-winter-cold).
14
   For example, Liberty Unyielding has thousands of readers. Between December 2020 and May
2021, it had between 90,000 and 290,000 readers, according to Similarweb. See
https://www.similarweb.com/website/libertyunyielding.com.


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70) Plaintiff is entitled to injunctive relief compelling defendant to produce the records

   described in plaintiff’s FOIA requests, without charging any fees.

71) Plaintiff asks the Court to issue an injunction ordering defendant to produce to plaintiff,

   within 10 business days of the date of the order, the records sought in plaintiff's FOIA

   requests, and any attachments thereto.

                                 THIRD CLAIM FOR RELIEF
                                Costs And Fees – Injunctive Relief

72) Plaintiff re-alleges paragraphs 1-71 as if fully set out herein.

73) Pursuant to 5 U.S.C. § 552(a)(4)(E), the Court may assess against the United States

   reasonable attorney fees and other litigation costs reasonably incurred in any case under

   this section in which the complainant has substantially prevailed.

74) This Court should enter an injunction ordering the defendant to pay reasonable attorney

   fees and other litigation costs reasonably incurred in this case.

   WHEREFORE, Plaintiff requests the declaratory and injunctive relief herein sought, and an

award for its attorney fees and costs and such other and further relief as the Court shall deem

proper.

               Respectfully submitted this 30th day of June, 2021,



                                                       ___/s/ Hans F. Bader______
                                                             Hans F. Bader
                                                       D.C. Bar No. 466545
                                                       hfb138@yahoo.com
                                                       1100 Conn. Ave., NW, #625
                                                       Washington, DC 20036
                                                       (703) 399-6738

                                                       Attorney for Plaintiff




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                         EXHIBIT 1
                      is beneath this page




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Here's an email I received from Fred Woehrle

From: George Leef (georgeleef@jamesgmartin.center)
To:    hfb138@yahoo.com

Date: Tuesday, June 29, 2021, 9:24 AM EDT



---------- Forwarded message ---------
From: Fred Woehrle <fredwoerhle@gmail.com>
Date: Thu, May 20, 2021 at 10:04 PM
Subject: Re: "Proposed Priorities: American History and Civics Education" (proposed rule, April 19, 2021)
To: <Ian.Rosenblum@ed.gov>


Dear Deputy Assistant Secretary Rosenblum:

The New York Times' 1619 Project is so badly flawed, and makes so many false claims, that the Education Department should not
have cited it, and it should not be touted in the Education Department's priorities for the American History and Civics Education
programs.

As Education Week points out, "historians have criticized important elements of the 1619 Project." See Andrew Ujifusa, "Biden
Administration Cites 1619 Project as Inspiration in History Grant Proposal," Education Week, April 19, 2021.

As CNS News points out, the 1619 Project makes false claims about America's history. It made debunked claims such as saying
that "'the moment [America] began" was in 1619, and that an incident in that year "is the country’s very origin." See "Biden
Incentivizes Schools to Teach Anti-White Racism to 'Remedy' Anti-Black Racism," CNS News, April 22, 2021.

That assertion is wrong, as is explained by Timothy Sandefur, author of a well-known biography of Frederick Douglass, "Frederick
Douglass: Self-Made Man." See Sandefur, "The 1619 Project: An Autopsy," The Dispatch, October 27, 2020, available
at https://thedispatch.com/p/the-1619-project-an-autopsy

The 1619 Project claimed that "the moment [America] began" was in 1619, when 20 enslaved people were brought ashore in
Virginia and sold. This incident, the 1619 Project said, "is the country’s very origin." Although the nation’s "official birthdate" came
in 1776, the 1619 Project claims that it was really "out of slavery—and the anti‐black racism it required" that "nearly everything
that has truly made America exceptional" grew.

This claim about America's origins is so bizarre that it has been rejected as false by historians of every ideological stripe -- from
liberals, moderates, and conservatives to socialists. "Despite the pretense of establishing the United States’ 'true' foundation, the
1619 Project is a politically motivated falsification of history. It presents and interprets American history entirely through the prism
of race and racial conflict," notes the World Socialist web site, citing historians of all ideological persuasions. In reality, the
American colonies were first settled in 1607, before any enslaved people arrived on America's shores. Most of the most populous
colonies, such as Massachusetts (the birthplace of the American Revolution), did not depend upon slave labor, and abolished
slavery soon after America became an independent nation. The northern free states were much more populous and economically
advanced than the southern slave states, which helps explain why the South lost the Civil War. So slavery did not cause America's
economic development and growth.

In addition to containing false claims about America's origins and founding, the 1619 Project creates a false black-white dichotomy
and neglects Asian-American history. Timothy Sandefur describes some of the vitally-important Chinese-American and Japanese-
American history it omits, in "The 1619 Project: An Autopsy," The Dispatch, October 27, 2020.

Since it neglects Asian-American history, it is not a good example for "Proposed Priority 1—Projects That Incorporate Racially,
Ethnically, Culturally, and Linguistically Diverse Perspectives into Teaching and Learning."

As former Education Department employee Adam Kissel points out, the proposed priority itself is deficient in another respect.
President Biden’s Executive Order on supporting underserved communities (Jan. 20, 2021) requires that “the Director of OMB
shall, in coordination with the heads of agencies, study strategies, consistent with applicable law, for allocating Federal resources
in a manner that increases investment in underserved communities, as well as individuals from those communities.”
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But Proposed Priority 1, part (b), fails to include “rural areas” or “geographic communities,” as mentioned in the Executive Order.
Part (b) does not provide equity as defined by President Biden.

The Education Department should not have cited Ibram Kendi, because his views contradict reality, and contradict federal court
rulings that are binding on the Education Department. Kendi's bad judgment is reflected in his idolizing a notorious anti-semite.

In Proposed Priority 1, the Education Department says that "As the scholar Ibram X. Kendi has expressed,...'Antiracist ideas
argue that racist policies are the cause of racial inequities.'"

But Ibram Kendi advocates widescale discrimination against whites and Asians to 'remedy' blacks' underrepresentation. The 'key
concept' in Kendi's book How to Be an Antiracist is that to remedy the underrepresentation of certain minority groups, society
needs to engage in discrimination against other groups, such as whites. As Kendi puts it, "the only remedy to racist discrimination
is antiracist discrimination. The only remedy to past discrimination is present discrimination. The only remedy to present
discrimination is future discrimination." But the sweeping racial discrimination Kendi advocates violates Supreme Court decisions
such as Richmond v. J.A. Croson Co., 488 U.S. 469 (1989).

In the eyes of the courts, the remedy to past discrimination is often not present discrimination. Discrimination is supposed to be a
"last resort." (Bartlett v. Strickland, 556 U.S. 1, 21 (2009)). Past discrimination against minorities has to involve evidence of
discrimination that is both recent and widespread, and by the government itself, to justify present discrimination against whites.
(See Richmond v. J.A. Croson Co., 488 U.S. 469 (1989) (Supreme Court rules that "societal discrimination" is not a reason for
discrimination against whites); Middleton v. City of Flint, 92 F.3d 396 (6th Cir. 1996) (court rules that only evidence of widespread
discrimination suffices, not anecdotes of discrimination); Brunet v. City of Columbus, 1 F.3d 390, 409 (1993) (court rules that
discrimination that happened many years earlier did not provide a basis for affirmative action program), citing Hammon v. Barry,
826 F.2d 73, 76-77 (D.C. Cir. 1987)).

Kendi is also inappropriate authority to cite because of his indifference toward anti-semitism. The "heroine" in one of Kendi's
books "is a notorious antisemite, Angela Davis," notes law professor David Bernstein. "While Kendi disparages a host of American
civil rights heroes, from Frederick Douglass to MLK as being too moderate, Davis is his odd choice as an antiracist exemplar,"
Professor Bernstein says. "After a dubious acquittal from a charge of conspiracy to murder as part of a Black Panthers jailbreak,
she spent the most productive years of her career as an activist for the American Communist Party." She disparaged jailed Jewish
dissidents in the Soviet Union as "Zionist fascists and opponents of socialism"' who should "be kept in prison.'" See David
Bernstein, "Jewish (and Other) Schools Shouldn't Assign Ibram Kendi's Stamped: a Remix," Times of Israel, October 15, 2020
available at https://blogs.timesofisrael.com/jewish-and-other-schools-shouldnt-assign-ibram-kendis-stamped-a-remix/

Kendi claims that “When I see racial disparities, I see racism.” But not all disparities are discriminatory in nature or in their origins.
As the Fourth Circuit Court of Appeals ruled, "disparity does not, by itself, constitute discrimination." (See Belk v. Charlotte-
Mecklenburg Board of Education, 269 F.3d 305, 332 (4th Cir. 2001) (en banc)).

And as CNS News points out, "Kendi’s claim ignores the fact that many racial disparities are not caused by racism. For example,
Latinos live three years longer than whites, on average, even though doctors don’t discriminate in their favor. Asians make more
money than whites, on average, even though Japanese and Chinese Americans suffered massive discrimination in America a
century ago. And while blacks make less money than whites, on average, immigrants from some African countries like Ghana and
Nigeria typically make more money than whites do. Racial disparities exist everywhere in society and the world, often for reasons
unrelated to racism, as the black economist Thomas Sowell chronicles in his book "Discrimination and Disparities." To abolish
racial disparities as Kendi seeks to do would require a totalitarian government, says black economist Glenn Loury." See "Biden
Incentivizes Schools to Teach Anti-White Racism to 'Remedy' Anti-Black Racism," CNS News, April 22, 2021.

The Education Department quotes Kendi's statement that "racist policies are the cause of racial inequities." The meaning of the
word "inequities" in this statement is ambiguous. If "inequities" simply means racial "disparities," then this claim is wrong, because
racist policies are not why Hispanics live longer than whites, or why Asians out-earn whites -- or why most other racial disparities
exist.

Thank you for taking the time to read my email.
